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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

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Proposed Attorneys for the Debtors

In re:                                                    Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                      Judge:

                Debtors.                                  Chapter: 11


         ORDER AUTHORIZING THE DEBTORS TO MAINTAIN CURRENT BANK
            ACCOUNTS, USE EXISTING BUSINESS FORMS AND MAINTAIN
           EXISTING CASH MANAGEMENT SYSTEM ON AN INTERIM BASIS

         The relief set forth on the following pages, numbered two (2) through four (4) is hereby

ORDERED.
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Case No: 08-

Order Authorizing the Debtors to Maintain Current Bank Accounts, Use Existing Business Forms and Maintain
Prepetition Cash Management System on an Interim Basis




         Upon consideration of the verified motion (the “Motion”)1 of the above-captioned

debtors and debtors-in-possession (the “Debtors”), for an Order authorizing the Debtors to

maintain currently existing Bank Accounts, to continue using its existing business forms and to

maintain its existing cash management system; and notice having been given to the United States

Trustee; and such notice being sufficient under the circumstances; and such relief being

necessary to assure that operation of the Debtors’ businesses will not be disrupted and that its

value as a going-concern will not be impaired; and after due deliberation and sufficient cause, it

is ORDERED:

         1.     That the Motion is GRANTED;

         2.     That the Debtors are authorized and empowered to maintain and to continue to

use their prepetition Bank Accounts;

         3.     That the Bank Accounts shall be treated as the Debtors’ accounts, in their capacity

as debtors-in-possession, for all purposes;

         4.     That the Debtors are authorized and empowered to use, in their present form, all

business forms, checks, documents and other stock related to the Bank Accounts. All checks are

to bear the designation “Debtor-in-Possession (Case No. 08-                         )”;




1
       Unless otherwise defined herein, all capitalized terms shall have the same meanings
ascribed to them in the Motion.

                                                  2
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Order Authorizing the Debtors to Maintain Current Bank Accounts, Use Existing Business Forms and Maintain
Prepetition Cash Management System on an Interim Basis



         5.     That the Debtors are authorized and empowered to maintain their cash

management system in the same manner and form as existed prepetition, other than exceptions

noted in the Motion;

         6.     That all banks and financial institutions providing, maintaining, or holding the

Bank Accounts shall be authorized and empowered to service and administer the Bank Accounts

without interruption and in the usual and ordinary course of business provided, however, that no

bank or financial institution shall exercise any claimed rights of setoff or offset of amounts

against any Bank Account (including the right to administratively freeze any Bank Account)

without obtaining a further order of this Court;

         7.     That no such bank or financial institution shall honor any check or draft issued on

account of a claim arising prior to the Petition Date unless so authorized by an order of this

Court;

         8.     That each bank and financial institution shall receive, process, honor, and pay all

checks and drafts drawn on the Bank Accounts on account of any claim (as defined in 11 U.S.C.

§ 101(5)) arising on or after the Petition Date and those claims arising prior to the Petition Date

for which Request have received specific authorization from this Court, provided that sufficient

funds, whether deposited prior or subsequent to the Petition Date, are in the Bank Account to

cover and permit payment thereof;

         9.     That to the extent checks issued prior to the Petition Date which the Debtors

received specific authorization from this Court to honor are drawn after the Petition Date and
                                            3
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Order Authorizing the Debtors to Maintain Current Bank Accounts, Use Existing Business Forms and Maintain
Prepetition Cash Management System on an Interim Basis



dishonored, the Debtors have the authority to reissue such checks in accordance with the relief

requested by the Debtors’ in the Motion;

         10.     That the Debtors have the authority to open new debtor-in-possession bank

accounts in the event that the Debtors determine that such new accounts are necessary or

appropriate for their continued operations, such new debtor-in-possession bank accounts must

bear the designation “Debtor-in-Possession (Case No. 08-                    )”;

         11.     That the Debtors are hereby authorized and empowered to take such actions as

may be necessary and appropriate to implement the terms of this Order; and

         12.     That the Office of the United States Trustee shall be allowed 60 days, such time

period to be extended for cause shown, from the date of this Order to review the Bank Accounts

and management procedures, and to file a motion for the Court to reconsider this Order.




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